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UNITED STATES DISTRICT COURT

for the

EASTERN Distriet of LOU]SIANA

United States of America

 

)
V. )
) CaScNO. lS-llSF
ALEX MADRIAGA )
Dejelrdari! -_i¥ ___ _ __ _- )
APPEARANCE BOND

Defendant’s Agreement
I, ALEX MADRIAGA rda/endann, agree to follow every order of this court, or any
court that considers this case, and I further agree th_at this hond may be forfeited ifl fai|:
( X ) to appear for court proceedings:

 

/'\/"\

X ) if convicted, to Surrender to serve a sentence that the court may impose; or
X ) to comply with all conditions set forth in the Order Setting Conditions ofRelease.

Type of Bond
( ) (l) This is a personal recognizance bond.

W
%] ) (2) This is an unsecured bond of$ !d€;Addi j

( ) (3) This is a secured bond of$ , secured by:

( ) (a) $ iiiii _ _, in cash deposited with the court.

( ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
(de.s'crr`be the cash or r).'her prr),r)err_v, including claims on if f such ¢i.\' n lien. mortgage or loan ~ and attach proof of

nwnerslu`p and va[ue):

 

 

 

If this bond is secured by_real propeE._ documents to-proteictithe secured interest-may be filed of reeord.

( ) (c) a bail bond with a solvent surety mma-h n copy afr/re bail bond m~ describe n and identify she surery):
ll PerSonal Surety Ll Commercia| Surety

 

 

 

 

 

Forfeiture or Release of the Bond

Forfer`ture of!he Bond. This appearance bond may he forfeited ifthe defendant does not comply with the above
agreement The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, ifthe defendant does not comply with the agreement At the request ofthe United States, the court
may order ajudgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.

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DEFENDANT: ALEX MADRIAGA CASE NO.:IS-llS F

Release ofthe Bona'. The court may order this appearance bond ended at any time. 'l`his bond will be satisfied and the
security will be released when either: (l) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence

Declarations

Ownersht'p of the Property. l, the defendant - and each surety - declare under penalty of perjury that:

(l) all owners ofthe property Securing this appearance bond are included on the bond;
(2) the property is not subject to elaims, except as described above; and
(3) l will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond is in effect.

Acceptance. I, the defendant- and each surety f have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant - and each surety ~ declare under penalty of perjury that this infonnation is true. (See 28 U.S.C. § 1746.)

Date: _§fé//? j in j ng @j/‘/

 

Dej€>nddnt 'S .r'r`gnatara/

 

 

Szrrery/property owner ~ signature and date

 

Surety/pro,oerty owner - printed name

 

 

 

Suret_v/property owner - printed name rS`rrretv/])roperty owner ~“ signature and date

 

 

 

 

Szrret).i’,i)ro;)erry owner jprinted name ._\':u'eo+jr)ropert),' owner - signature and date

JUDIC!AL ()FFICER/CLERK OF COURT

Date:

 

 

j§`gnr.'tare o/:Mct`a! OJ§’i`cer/Clerk or Deputy Cr'erk

 

 

Approved. ;; : §
Date: 64 ¢2‘5_7!5/ ,,, is , , /z@

rilagr`strate Jndgej.]no’ge `s signature

